Case 8:21-cv-02421-GLS Document 2 Filed 09/21/21 Page 1 of 7

IN THE CIRCUIT COURT
FOR PRINCE GEORGE’S COUNTY, MARYLAND

PAULA KNIGHTON

416 N. Howard Street
Apartment 404

Alexandria, Virginia 22304

Plaintiff,

vs. Case No.: CAL21-05642
NATIONAL HARBOR GRAND, LLC

165 Waterfront Street

National Harbor, Maryland 20745

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SERVE ON: )
The Corporation Trust Incorporated )
2405 York Road )
Suite 201 )
Lutherville, Maryland 21093 )
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And )
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MGM NATIONAL HARBOR, LLC
3950 Las Vegas Boulevard South
Las Vegas, Nevada 89119

SERVE ON:

CSC-Lawyers Incorporating Service Co.
7 St. Paul Street

Suite 820

Baltimore, Maryland 21202

Defendants.

 

FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, Paula Knighton, by undersigned counsel, hereby
files this First Amended Complaint against National Harbor Grand,
LLC and MGM National Harbor, LLC, Defendants herein, and alleges

as follows:
Case 8:21-cv-02421-GLS Document 2 Filed 09/21/21 Page 2 of 7

I. JURISDICTION AND VENUE.

 

1. Plaintiff invokes the jurisdiction of this Court
pursuant to Md. Code Ann., Cts. and Jud. Proc. Article, § 6-101 et
seq.

2. Venue is proper in this Court pursuant to Md. Code Ann.,
Cts. & Jud. Proc. Article, §§ 6-201 and 6-202.

3. The amount in controversy herein exceeds the sum of
$30,000.00, exclusive of interest and costs.

II. PARTIES

4, Paula Knighton (“Knighton”) is a citizen of the State of
Virginia, with a residence at 416 N. Howard Street, Apartment 404,
Alexandria, Virginia 22304.

5. National Harbor Grand, LLC (“NHG”) is a Maryland based
company with its principal place of business located at 165
Waterfront Street, National Harbor, Maryland 20745. Upon
information and belief, National Harbor Grand, LLC owns the
property known as the MGM National Harbor Casino located at 101
MGM National Avenue, Oxon Hill, Maryland 20745.

6. MGM National Harbor, LLC (“MHH”) is a Nevada based
company with its principal place of business located at 3950 Law
Vegas Boulevard South, Las Vegas, Nevada 89119. At all times
relevant to this Complaint, MHH operates and maintains the property
known as the MGM National Harbor Casino located at 101 MGM National

Avenue, Oxon Hill, Maryland 20745.
Case 8:21-cv-02421-GLS Document 2 Filed 09/21/21 Page 3 of 7

III. FACTS

7. On or about July 7, 2019, Knighton was an invitee on the
property known as the MGM National Harbor Casino located at 101
MGM National Avenue, Oxon Hill, Maryland 20745 (“Premises”).

8. As Knighton was walking through the Premises, she
slipped on a liquid substance which caused her to fall to the
ground. Immediately after her fall, Knighton noticed that cocktail
and a cocktail cherry had accumulated in the area of the floor
where she fell. Knighton’s fall caused her to sustain profound and
painful injuries to her foot, leg, back, and body. As a result of
the injuries sustained, Knighton was forced to incur substantial
medical bills and miss time from work. As of the date of the filing
of this Complaint, Knighton is still experiencing pain and
discomfort due to the injuries she sustained as a result of her
fall and, upon information and belief, may be in need of future
medical care.

9. At all times prior to her fall, Knighton maintained a
proper and vigilant outlook as she proceeded through the Premises,
and her actions in no way contributed to her fall. To the contrary,
Knighton's injuries were solely the result of the negligence of
the Defendants, NHG and/or MHH.

10. Prior to this accident, NHG and/or MHH had knowledge and
notice that (1) a cocktail and/or liquid substance had accumulated

on the floor of the Casino where Knighton fell; and (2) no adequate
Case 8:21-cv-02421-GLS Document 2 Filed 09/21/21 Page 4 of 7

warnings were posted to alert invitees, like Knighton, of the
dangerous condition that existed at the time of Knighton’s fall.

COUNT I
(Negligence - NHG)

11. Plaintiff hereby incorporates by reference the
allegations contained in paragraphs 1-10.

12. NHG, at all times material to this Complaint, was the
owner of the property known as the MGM National Harbor Casino
located at 101 MGM National Avenue, Oxon Hill, Maryland 20745. As
such, NHG owed a duty to Knighton, and all invitees who were
lawfully on the premises, to provide safe pathways through the
Casino free from the dangerous accumulation of a cocktail and/or
liquid substance on the floor and/or other defects which could
cause injury. NHG also had a duty to warn Knighton, and all patrons
lawfully entering onto the property, of any defects, dangers, or
other hazardous conditions which existed on the property.

13. On or about July 7, 2019, NHG breached the duties of
care it owed to Knighton by failing to (1) take reasonable actions
to ensure that the floors of the Premises were free from the
dangerous accumulation of a cocktail and/or liquid substance, and
(2) failing to warn Knighton, and other patrons lawfully on the
premises, of the aforementioned dangerous conditions of which it
knew or should have known existed as of the time of Knighton’s

fall.
Case 8:21-cv-02421-GLS Document 2 Filed 09/21/21 Page 5 of 7

14. As a result of MHG’s breaches of the duties of care owed
to Knighton, Knighton sustained substantial damages.

WHEREFORE, Plaintiff, Paula Knighton, prays that the Court
enter judgment in her favor and against Defendant, National Harbor
Grand, LLC, for compensatory damages in an amount exceeding
$75,000.00, with the exact amount to be determined at trial, plus
pre-judgment interest, costs, and such other and further relief as
justice may require.

COUNT I
(Negligence - MHH)

15. Plaintiff hereby incorporates by reference the
allegations contained in paragraphs 1-14.

16. MHH, at all times material to this Complaint, was in
possession, custody and control of the MGM National Harbor Casino
located at 101 MGM National Avenue, Oxon Hill, Maryland 20745. As
such, MHH owed a duty to Knighton, and all invitees who were
lawfully on the premises, to provide safe pathways through the
Casino free from the dangerous accumulation of a cocktail and/or
liquid substance on the floor and/or other defects which could
cause injury. MHH also had a duty to warn Knighton, and all patrons
lawfully entering onto the property, of any defects, dangers, or
other hazardous conditions which existed on the property.

17. On or about July 7, 2019, MHH breached the duties of

care it owed to Knighton by failing to (1) take reasonable actions
Case 8:21-cv-02421-GLS Document 2 Filed 09/21/21 Page 6 of 7

to ensure that the floors of the Premises were free from the
dangerous accumulation of a cocktail and/or liquid substance, and
(2) failing to warn Knighton, and other patrons lawfully on the
premises, of the aforementioned dangerous conditions of which it
knew or should have known existed as of the time of Knighton’s
fall.

18. As a result of MHH’s breaches of the duties of care owed
to Knighton, Knighton sustained substantial damages.

WHEREFORE, Plaintiff, Paula Knighton, prays that the Court
enter judgment in her favor and against Defendant, MGM National
Harbor, LLC, for compensatory damages in an amount exceeding
$75,000.00, with the exact amount to be determined at trial, plus
pre-judgment interest, costs, and such other and further relief as

justice may require.

Respectfully submitted,

ee

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Attorneys for Plaintiff,
Paula Knighton
Case 8:21-cv-02421-GLS Document 2 Filed 09/21/21 Page 7 of 7

JURY TRIAL DEMANDED
Plaintiff hereby demands and request that all claims, actions
and causes of action set forth in the First Amended Complaint filed

for the above-captioned claim be tried before a jury.

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Matthew T~HoTley
